446 F.2d 904
    Bruce SEXTON, Plaintiff-Appellee,v.Bruce GIBBS and Terry Stephens, Defendants-Appellants.
    No. 30127.
    United States Court of Appeals, Fifth Circuit.
    June 1, 1971.
    
      J. Bruce Aycock, City Atty., Amarillo, Tex., for defendants-appellants.
      Harris E. Lofthus, Amarillo, Tex., for plaintiff-appellee.
      Before CLARK, Associate Justice,1 and GEWIN and RONEY, Circuit judges.
      PER CURIAM:
    
    
      1
      This is a civil rights action under 42 U.S.C. 1983 in which the appellee claims damages for an alleged unlawful arrest and an alleged unlawful search and seizure.  After a hearing at which the facts were fully developed, the district court rendered judgment for the appellee.  Our review of the record convinces us that the facts found by the district court are supported by substantial evidence and that the legal conclusions reached are supported by the facts as found.  Accordingly, the judgment of the district court, Sexton v. Gibbs and Stephens, 320 F.Supp. 134 (N.D.Tex.1970), is affirmed.
    
    
      
        1
         Associate Justice, United States Supreme Court (Ret.), sitting by designation
      
    
    